        Case 3:17-cv-02238-MDM Document 68 Filed 05/21/21 Page 1 of 1




               United States Court of Appeals
                                 For the First Circuit

No. 20-1632
                                     JOAN OQUENDO

                                     Plaintiff - Appellant

                                              v.

          COSTCO WHOLESALE CORPORATION, d/b/a Costco Wholesale #365

                                    Defendant - Appellee


                                        MANDATE

                                    Entered: May 20, 2021

       In accordance with the judgment of April 29, 2021, and pursuant to Federal Rule of
Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                            By the Court:

                                            Maria R. Hamilton, Clerk


cc:
Vicente J. Antonetti
Luis F. Antonetti-Zequeira Sr.
Humberto Felix Cobo-Estrella
Gabriel A. Quintero-O'Neill
